Case 3:99-cv-05571-PGS          Document 75        Filed 03/01/04   Page 1 of 2 PageID: 17




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
__________________________________________
                                           :
PETER F. SPRAGUE,                          :
                                           :
             Plaintiff,                    : Civ. No. 99-5571 (GEB)
                                           :
             v.                            :
                                           : ORDER
MEDICAL WORLD COMMUNICATIONS, INC., :
NOVICOM, INC., ROMAINE PIERSON             :
PUBLISHERS, INC., MEDICAL WORLD            :
BUSINESS PRESS, INC., DENTAL LEARNING :
SYSTEMS CO., INC., JOHN J. HENNESSY II,    :
MEDIA/COMMUNICATIONS PARTNERS II          :
LIMITED PARTNERSHIP, CHRISTOPHER S.        :
GAFFNEY, M/CP II LIMITED PARTNERSHIP :
d/b/a M/C PARTNERS, M/C II GENERAL        :
PARTNER-D, INC., M/C II GENERAL            :
PARTNER-R, INC., M/C II GENERAL            :
PARTNER-S, INC., M/C II GENERAL           :
PARTNER-J, INC., M/C II GENERAL            :
PARTNER-C, INC., M/C II GENERAL            :
PARTNER-H, INC.,                           :
                                           :
             Defendants.                   :
                                           :

       This matter having come before the Court upon defendants’ motions to dismiss the First

Amended Complaint1; and

       IT APPEARING TO THE COURT that this case was closed on July 18, 2003 pursuant to

a Stipulation and Order dismissing the action with prejudice; and

       IT FURTHER APPEARING TO THE COURT that the above Stipulation and Order was

entered pursuant to a Settlement Agreement between the United States and defendants; and


       1
       The case caption on this Order includes defendants added in the First Amended
Complaint filed on September 30, 2003. Defendants have moved to dismiss the First Amended
Complaint as to any/all counts alleged therein as directed against them
Case 3:99-cv-05571-PGS         Document 75      Filed 03/01/04   Page 2 of 2 PageID: 18




       IT FURTHER APPEARING TO THE COURT that on September 19, 2003, Plaintiff’s

motion for leave to file an Amended Complaint was granted;

       IT IS this    27th   day of February, 2004;

       ORDERED that this case is REOPENED.



                                                      s/ Garrett E. Brown, Jr.
                                                  GARRETT E. BROWN, JR., U.S.D.J.
